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                                  #:120785
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 2 of 141 Page ID
                                  #:120786
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 3 of 141 Page ID
                                  #:120787
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 4 of 141 Page ID
                                  #:120788
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 5 of 141 Page ID
                                  #:120789
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 6 of 141 Page ID
                                  #:120790
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 7 of 141 Page ID
                                  #:120791
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 8 of 141 Page ID
                                  #:120792
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 9 of 141 Page ID
                                  #:120793
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 10 of 141 Page ID
                                  #:120794
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 11 of 141 Page ID
                                  #:120795
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 12 of 141 Page ID
                                  #:120796
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 13 of 141 Page ID
                                  #:120797
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 14 of 141 Page ID
                                  #:120798
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 15 of 141 Page ID
                                  #:120799
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                                  #:120800
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 17 of 141 Page ID
                                  #:120801
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 18 of 141 Page ID
                                  #:120802
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 19 of 141 Page ID
                                  #:120803
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 20 of 141 Page ID
                                  #:120804
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 21 of 141 Page ID
                                  #:120805
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 22 of 141 Page ID
                                  #:120806
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 23 of 141 Page ID
                                  #:120807
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 24 of 141 Page ID
                                  #:120808
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 25 of 141 Page ID
                                  #:120809
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 26 of 141 Page ID
                                  #:120810
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 27 of 141 Page ID
                                  #:120811
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 28 of 141 Page ID
                                  #:120812
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 29 of 141 Page ID
                                  #:120813
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 30 of 141 Page ID
                                  #:120814
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 31 of 141 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 32 of 141 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 33 of 141 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 34 of 141 Page ID
                                  #:120818
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 35 of 141 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 39 of 141 Page ID
                                  #:120823
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 40 of 141 Page ID
                                  #:120824
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 41 of 141 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 42 of 141 Page ID
                                  #:120826
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 43 of 141 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 46 of 141 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 47 of 141 Page ID
                                  #:120831
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                                  #:120834
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 52 of 141 Page ID
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                                  #:120837
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 54 of 141 Page ID
                                  #:120838
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 55 of 141 Page ID
                                  #:120839
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 56 of 141 Page ID
                                  #:120840
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                                  #:120841
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                                  #:120842
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 59 of 141 Page ID
                                  #:120843
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                                  #:120844
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                                  #:120845
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                                  #:120846
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                                  #:120847
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                                  #:120848
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                                  #:120849
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                                  #:120850
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                                  #:120851
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                                  #:120852
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 70 of 141 Page ID
                                  #:120854
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                                  #:120856
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 73 of 141 Page ID
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                                  #:120858
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                                  #:120859
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                                  #:120860
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                                  #:120861
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                                  #:120862
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 79 of 141 Page ID
                                  #:120863
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                                  #:120864
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                                  #:120867
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                                  #:120869
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                                  #:120870
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 87 of 141 Page ID
                                  #:120871
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                                  #:120872
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 89 of 141 Page ID
                                  #:120873
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 90 of 141 Page ID
                                  #:120874
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 91 of 141 Page ID
                                  #:120875
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 92 of 141 Page ID
                                  #:120876
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 93 of 141 Page ID
                                  #:120877
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 94 of 141 Page ID
                                  #:120878
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                                  #:120879
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 96 of 141 Page ID
                                  #:120880
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                                  #:120881
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                                  #:120882
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 99 of 141 Page ID
                                  #:120883
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                                ID #:120884
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 101 of 141 Page
                                ID #:120885
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                                ID #:120888
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 105 of 141 Page
                                ID #:120889
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                                ID #:120890
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 107 of 141 Page
                                ID #:120891
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 108 of 141 Page
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 110 of 141 Page
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                                ID #:120895
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                                ID #:120896
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Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 114 of 141 Page
                                ID #:120898
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                                ID #:120899
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                                ID #:120900
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                                ID #:120901
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                                ID #:120902
Case 2:04-cv-09049-DOC-RNB Document 4374-18 Filed 10/20/08 Page 119 of 141 Page
                                ID #:120903
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                                ID #:120904
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                                ID #:120905
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                                ID #:120906
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                                ID #:120907
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                                ID #:120908
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                                ID #:120911
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                                ID #:120913
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                                ID #:120914
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                                ID #:120916
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                                ID #:120917
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